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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JANE DOES 1-21,
                                                     Case No.: 1:18-cv-01038

              Plaintiffs,                            Hon. Gordon J. Quist

v

MICHIGAN STATE UNIVERSITY; THE MICHIGAN
STATE UNIVERSITY BOARD OF TRUSTEES;
LAWRENCE GERARD NASSAR (individual capacity
only); WILLIAM D. STRAMPEL, D.O. (individual
capacity only); JEFFREY R. KOVAN D.O. (individual
capacity only); DOUGLAS DIETZEL, D.O. (individual
capacity only); KATHIE KLAGES (individual Capacity
only); GARY E. STOLLAK (individual capacity only);
BROOKE LEMMEN, D.O. (individual capacity only);
DESTINY TEACHNOR-HAUK (individual capacity
only); LIANNA HADDEN (individual capacity only);
USA GYMNASTICS, INC.; STEVE PENNY;
TWISTARS USA, INC. d/b/a GEDDERTS’ TWISTARS
USA GYMNASTICS CLUB, DEBRA VAN HORN,
JOHN GEDDERT and UNITED STATES OLYMPIC
COMMITTEE,

                  Defendants.
____________________________________________________________________________
 Michael L. Pitt (P24429)
 Megan A. Bonanni (P52079)
 Beth M. Rivers (P33614)
 Robin B. Wagner (P79408)
 PITT, McGEHEE, PALMER & RIVERS. P.C.
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____________________________________________________________________________
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 PLAINTIFFS’ CONCURRENCE TO PLAINTIFF’S RESPONSE IN OPPOSITION TO
JOINT MOTION OF MICHIGAN STATE UNIVERSITY, THE BOARD OF TRUSTEES
 OF MICHIGAN STATE UNIVERSITY, MICHIGAN STATE UNIVERSITY SPORTS
    MEDICINE CLINIC, AND THE SETTLING PLAINTIFFS TO AMEND THE
              CONFIDENTIALITY AND PROTECTIVE ORDER

       NOW COMES Plaintiffs Jane Does 1-21, by and though their attorneys, Pitt McGehee

Palmer & Rivers, P.C., and hereby concur with Plaintiff’s Response in Opposition to Joint Motion

of Michigan State University, The Board of Trustees of Michigan State University, Michigan State

University Sports Medicine Clinic, and the Settling Plaintiffs to Amend the Confidentiality and

Protective Order, Case 1:18-cv-00732-GJQ-ESC, ECF No. 76, filed today by The Mike Cox Law

Firm, PLLC on behalf of Plaintiff Jane K.K. Doe attached as Exhibit 1.


                                            Respectfully Submitted,

                                            By:/s/ Michael L. Pitt
                                            Michael L. Pitt (P24429)
                                            Megan A. Bonanni (P52079)
                                            Beth M. Rivers (P33614)
                                            Robin B. Wagner (P79408)
                                            PITT, McGEHEE, PALMER & RIVERS. P.C.
                                            Attorneys for Plaintiffs Jane Does 1-21
                                            117 W. Fourth Street, Suite 200
                                            Royal Oak, MI 48067
                                            248-398-9800
Dated: September 21, 2018

                               CERTIFICATE OF SERVICE

              The undersigned certifies that the foregoing instrument was filed
              with the U.S. District Court (Western District) through the ECF
              filing system and that all parties to the above cause was served via
              the ECF filing system on September 21, 2018.

                      Signature:__/s/ Regina Bell___
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                                     (248) 398-9800
                                     rbell@pittlawpc.com
